          Case 4:15-cv-01719-YGR Document 44 Filed 11/12/15 Page 1 of 3



 1
      (Counsel Listed on Signature Page)
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 8                              UNITED STATES DISTRICT COURT
 9                           NORTHERN DISTRICT OF CALIFORNIA
10                                         OAKLAND DIVISION
11   EMMANUEL C. GONZALEZ,                             Case No. 15-cv-01719-YGR
12
                                                       JOINT STIPULATION FOR
                                  Plaintiff,           DISMISSAL WITH PREJUDICE
13

14   v.                                                *AS MODIFIED BY THE COURT*

15
     SOCIAL CONCEPTS, INC.,
16

17                                Defendant.
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      JOINT STIP. FOR DISMISSAL                                         4:15-CV-01719-YGR
         Case 4:15-cv-01719-YGR Document 44 Filed 11/12/15 Page 2 of 3



 1          The parties having reached a settlement in this matter, hereby stipulate to dismissal of all

 2   claims and counterclaims in this action WITH PREJUDICE, subject to the terms of that certain

 3   agreement entitled “SETTLEMENT AND LICENSE AGREEMENT” and having an effective date

 4   of November 5, 2015, with each Party to bear its own costs, expenses and attorneys’ fees. The

 5   Court shall retain jurisdiction to enforce the terms of the parties’ Settlement and License

 6   Agreement for a period of one (1) year from the date of this Order.

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 8   Dated: November 10, 2015                     Respectfully submitted,

 9
                                                  /s/ Matthew K. Blackburn
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     Dated: November 10, 2015                     /s/ Jeffrey Johnson
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      JOINT STIP. FOR DISMISSAL                                                       4:15-CV-01719-YGR
        Case 4:15-cv-01719-YGR Document 44 Filed 11/12/15 Page 3 of 3



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 5                                             ATTORNEYS FOR DEFENDANT
                                               SOCIAL CONCEPTS, INC.
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 8   PURSUANT TO STIPULATION, IT IS SO ORDERED.

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10   This Order terminates Docket Numbers 38, 41.
11

12   Dated: November 12, 2015                           ____________________________________
                                                          Hon. Yvonne Gonzalez Rogers
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                                                         United States District Court Judge
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      JOINT STIP. FOR DISMISSAL                                                    4:15-CV-01719-YGR
